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                      UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF NEW YORK


REGINALD MCBRIDE,

                           Plaintiff,

             v.
                                                                  Case No.: _____________
THE CITY OF ROCHESTER, NEW YORK, and
THE COUNTY OF MONROE, NEW YORK,

                           Defendants.



            COMPLAINT AND JURY DEMAND

      Plaintiff, R E G IN A L D M C B R I D E , by and through his attorneys, S A NT I A G O

B U R GE R LLP, asserts as follows in support of his COMPLAINT against

Defendants CITY OF ROCHESTER and C O U N T Y       OF   M ON R OE :

                                    RELIEF SOUGHT

      1.     Plaintiff,   R E G I NA L D   MCBRIDE,        sues     Defendant    C IT Y     OF


R O C H E S T E R Police Department for falsely arresting Plaintiff outside his then-

residence at 89 Hobart Street, Rochester, New York (“House”), on a charge of felony

possession of a Smith & Wesson .38 Special revolver firearm, without probable

cause or a warrant and despite conclusive police body camera audio-video footage

proving his actual innocence (“Arrest”).

      2.     Defendants C IT Y    OF    R O C H E S T E R Police Department and COUNTY      OF


MONROE Sheriff’s and District Attorney’s Offices caused Plaintiff to be falsely

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imprisoned, indicted, and maliciously prosecuted in connection with the Arrest

between the approximate dates of April 17, 2017 and August 17, 2017.

      3.     Plaintiff seeks compensatory damages and attorney’s fees from

Defendants to vindicate Defendants’ violation of his civil rights. See generally U.S.

CONST. amends. IV, V & XIV; 42 USC §§ 1983 & 1988; NY CONST. art. 1, §§ 6 & 12;

N.Y. CIV. RIGHTS. L. § 8.


                            JURISDICTION AND VENUE


      4.     The original subject matter jurisdiction of this Court is invoked under

28 U.S.C. sections 1331 and 1367 because this case concerns constitutional

questions, violations of constitutional rights by the government and/or its

representatives, acting under color of any statute, ordinance, regulation, custom, or

usage, and other claims that are so related to claims in the action within such

original jurisdiction that they form part of the same case or controversy under

Article III of the United States Constitution.

      5.     The Western District of New York is the proper venue for this case

under 28 U.S.C. section 1391(b)(1) and (2) because Defendants reside in this

District and a substantial part of the events or omissions giving rise to the claim

occurred therein.


                                      PARTIES


      6.     Plaintiff, Reginald McBride, is a citizen of the State of New York, and



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of the United States, and a domiciliary of the City of Rochester, and the County of

Monroe, residing at 836 Clifford Avenue, Rochester, New York 14621.

      7.     Defendant, City of Rochester, New York, is a municipal corporation

located within the Western District of New York, with its principal offices located at

30 Church Street, Rochester, New York 14614.

      8.     Defendant, County of Monroe, New York, is a municipal corporation

located within the Western District of New York, with its principal offices located at

39 West Main Street, Rochester, New York 14614.


                             FACTUAL BACKGROUND


      9.     At shortly after 8:00     P .M .   on April 17, 2017, Rochester Police

Department (RPD) officers responded to a “spotshotter activation” and citizen

reports of gunshots fired in the vicinity of Hobart Street and Chili Avenue, in the

City of Rochester, County of Monroe, State of New York.

      10.    RPD also broadcasted over its west side primary channel “that a group

of males related to the shots fired incident were seen running behind 89 Hobart St.”

      11.    RPD also broadcast a report “that some of the males ran inside [89

Hobart Street].”

      12.    RPD officers arrested two men inside the House and charged them

with possessing two guns: a .38 revolver and a semiautomatic pistol.

      13.    According to police reports Rochester Police Officers also detained

other men named Hassann Ross and Ronald Kelly in connection with this incident.



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      14.    Police captured Ross and Kelly inside of 89 Hobart Street on a rear

staircase and the police reported that these were the men in possession of the only

two firearms recovered. One man discarded a revolver on the stairs. Another man

had a second gun “fall out from underneath him on the landing.”

      15.    Ross later admitted to discharging the revolver and possessing it when

he was apprehended by police inside the House.

      16.    Rochester Police Officer Jeffrey Schall identified and arrested a

suspect, whom he mistakenly identified as Plaintiff Reginald McBride, inside the

House on the rear stairs sitting next to the .38 revolver.

      17.    When Officer Schall helped the suspect, whom he erroneously believed

to be McBride, to stand up on the rear stairs in the House, Officer Schall saw that

the suspect was sitting on the semi-automatic handgun. Officer Schall described

this suspect with the semiautomatic as having “dreads in his hair”.

      18.    Plaintiff did not have dreadlocks in his hair (but did wear a beard and

mustache) and was in the custody of Officer Marrero outside the House.

      19.    Plaintiff Reginal McBride, then 19 years of age, resided with his

mother and siblings at 89 Hobart Street, Rochester, New York.

      20.    Rochester Police Officers first encountered and detained Plaintiff

outside of the House, his residence, and handcuffed him there on the ground,

against his will and without his consent.

      21.    Rochester Police Officers transported Plaintiff to the Public Safety

Building in handcuffs, against his will and without his consent.



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      22.        Rochester Police Officers interviewed Plaintiff at the Public Safety

Building where Plaintiff denied possessing the gun and offered to submit to a

gunshot residue test.

      23.        Rochester Police Officers misidentified Plaintiff as a perpetrator

despite conclusive evidence to the contrary.

      24.        Audio and video footage from police body cameras confirm that

Plaintiff was not one of the men who police witnessed in unlawful possession of the

two firearms on April 17, 2017:

            a.      At 8:10:08 p.m., Rochester Police Officer Jose Marrero

                    detained and handcuffed Plaintiff outside of 89 Hobart Street

                    and forced Plaintiff to lay on the ground on his stomach

                    thereafter until he was transported to the police station.

            b.      Then, while Plaintiff was on the ground outside the House

                    and in the custody of Rochester Police Officer Jose Marrero,

                    other Rochester Police Officers apprehended other suspects

                    with two guns (a .38 revolver and a semi-automatic handgun)

                    inside the House. At least one of these men had dreadlocks

                    in his hair.

            c.      Plaintiff could not have possessed either of the guns because

                    he was in police custody outside the House and the police

                    captured the suspects and recovered the guns from such

                    suspects’ respective persons and/or their immediate vicinities



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       inside the House.

 d.    There were two guns recovered.

 e.    The person with the first gun was named Hassan Ross. He

       confessed to this and was convicted of this.

 f.    Hassan Ross, wearing a red coat, was captured in the House

       by Officer Samuel Giancursio with a gun on the stairs.

 g.    Hassan Ross was then taken out of the House and

       handcuffed and placed on the ground outside near Plaintiff.

 h.    Then police brought another man out of the House.         His

       identity is unknown but police identify him on camera as

       having had a gun. “He had a gun; hold onto him.” Jose

       Marrero Body Camera timestamped 04.17.2017, 20:12:10.

       This was the only other gun. This man had dreadlocks.

 i.    Plaintiff did not have dreadlocks but did have a beard and

       moustache.

 j.    Plaintiff was on the ground outside the House in handcuffs

       when the man with the dreadlocks was removed from inside

       the House and identified as a gunman in the backyard.

 k.    During Plaintiff’s interrogation, the RPD officers conducting

       the interrogation repeatedly told Plaintiff that they had

       Plaintiff on video sitting on the gun and that the gun would

       have his fingerprints on it. Plaintiff repeatedly refuted this



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                    claim.

            l.      During his interrogation, Police told Plaintiff that it was

                    more “believable” that he had a gun belonging to someone

                    else than that he had no gun at all.

            m.      A police officer conducting the interrogation told Plaintiff

                    that he would be charged with illegally possessing a gun and

                    jailed before reviewing the video footage to confirm Plaintiff’s

                    account of innocence but he then promised to check the video

                    and compare it with Plaintiff’s account.

      25.        The police officers failed to review the video footage showing Plaintiff’s

innocence and charged him anyway.

      26.        The police officers conducting the interrogation failed to conduct a

fingerprint analysis or comparison on the gun which would have corroborated

Plaintiff’s account of the evening’s events.

      27.        On or about May 2, 2017, Defendants withheld relevant and

exculpatory evidence from the Monroe County Grand Jury, resulting in a two-count

indictment against Plaintiff (Indictment).

      28.        While Plaintiff was in custody in connection with the Arrest and the

Indictment, he was seriously and permanently injured and subjected to fear, pain,

and suffering, mental anguish and humiliation.




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                        CHARGES AGAINST DEFENDANTS


                                  COUNT ONE

 Deprivation of Federal Constitutional Civil Rights to be Free from Unreasonable
   and Warrantless Searches and Seizures, Unlawful Imprisonment, Malicious
Prosecution, and Deprivation of Procedural and Substantive Due Process under the
                      Fourth and Fourteenth Amendments
                                 [42 USC § 1983]


      29.    Plaintiff adopts and reasserts the information contained in Paragraphs

1 – 28 and all other paragraphs of the Complaint as though fully set forth herein.


      30.    Defendants    arrested,   commenced,     and    continued   a   criminal

prosecution against Plaintiff for criminal possession of a weapon.


      31.    Defendants did not have a warrant for Plaintiff’s Arrest.


      32.    Defendants deprived Plaintiff of his liberty against his will,

handcuffing him and confining him for approximately four months.


      33.    Defendants deprived Plaintiff of due process of law by arresting and

confining him and prosecuting him without revealing the audiovisual evidence of

his innocence to the courts.


      34.    Defendants violated Plaintiff’s rights under the Fourth and/or

Fourteenth Amendments to the United States Constitution.


      35.    Plaintiff was innocent of the charged felony offense.




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      36.     At all relevant times, Defendants had conclusive evidence in the form

of police body camera video footage proving Plaintiff’s innocence.


      37.     The Arrest and concomitant imprisonment and criminal prosecution

were without probable cause and not otherwise privileged.


      38.     Defendants acted with legal malice in falsely arresting, imprisoning,

and prosecuting Plaintiff despite the conclusive evidence of Plaintiff’s actual

innocence in Defendants’ possession.


      39.     Defendants withheld and/or suppressed the evidence of Plaintiff’s

innocence by not timely presenting it to the courts and/or the grand jury.


      40.     Plaintiff requested that Defendants produce all exculpatory evidence.


      41.     The felony prosecution terminated in Plaintiff’s favor when it was

dismissed with prejudice by the New York State Supreme Court (M O R A N , J.), upon

the Monroe County District Attorney’s application.


      42.     The District Attorney’s Office confirmed in open court that Plaintiff

was misidentified and actually innocent of the indicted offenses stemming from the

Arrest.


      43.     Defendants acted under color statute, ordinance, regulation, custom,

and/or usage of New York State and subjected Plaintiff or caused Plaintiff to be

subjected to the deprivation of rights, privileges, or immunities secured by the

Constitution and laws.

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      44.    At all relevant times, Plaintiff was aware of his Arrest and unlawful

imprisonment by Defendants on the felony charge and objected thereto.


      45.    While Plaintiff was imprisoned by Defendants he suffered physical

injuries and mental anguish proximately caused by such imprisonment.


                                  COUNT TWO

 Deprivation of Federal Constitutional Civil Rights to Liberty and Procedural and
 Substantive Due Process of Law by Withholding Material Exculpatory Evidence,
       and Failing to Conduct a Constitutionally Adequate Investigation.
                                 [42 USC § 1983]

      46.    Plaintiff adopts and reasserts the information contained in Paragraphs

1 – 45 and all other paragraphs of the Complaint as though fully set forth herein.


      47.    Defendants had the evidence of Plaintiff’s innocence in their actual or

constructive possession at all relevant times.


      48.    Defendants failed to timely disclose the evidence of Plaintiff’s

innocence to the Plaintiff, the grand jury or the courts, resulting in Plaintiff being

incarcerated for four months.


                                COUNT THREE

                           Failure to Train and Supervise.
                                  [42 USC § 1983]

      49.    Plaintiff adopts and reasserts the information contained in Paragraphs

1 – 48 and all other paragraphs of the Complaint as though fully set forth herein.


      50.    Defendants failed to adequately supervise, train, and discipline their

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employees with respect to the investigation and prosecution of Plaintiff’s case.


      51.    Defendants failed to adequately supervise, train, and discipline their

employees with respect to the seizure and detention of Plaintiff.


      52.    As a direct consequence of Defendants’ respective grossly negligent

failure to train, discipline and supervise their employees, Plaintiff was unlawfully

arrested, imprisoned, indicted, and prosecuted for a crime he did not commit.


                                 COUNT FOUR

                                  Monell Liability
                                  [42 USC § 1983]

      53.    Plaintiff adopts and reasserts the information contained in Paragraphs

1 – 52 and all other paragraphs of the Complaint as though fully set forth herein.


      54.    Defendants, with deliberate indifference, maintained an official policy,

custom, practice, and/or usage of failing to fully and adequately investigate cases

and review evidence before commencing a prosecution or seeking an indictment

from a grand jury or announcing readiness for trial in court.


      55.    Defendants knew that their deliberate policy making indifference was

likely to result in wrongful arrests, prosecutions, and imprisonment.


      56.    As a direct and proximate result of Defendants’ constitutionally

inadequate investigative, prosecutorial, and detention practices, Plaintiff was

deprived of his Fourth and Fourteenth Amendment rights to be free from



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unreasonable searches and seizures, false arrest and imprisonment, malicious

prosecution, and deprivation of liberty without procedural or substantive due

process of law.


      57.    Defendants’ conduct directly and proximately caused Plaintiff’s

physical and mental injuries related to his arrest, prosecution, and/or incarceration.


                                     COUNT FIVE

Deprivation of New York State Constitutional and Statutory Civil Rights to be Free
      from Unreasonable and Warrantless Searches and Seizures, Unlawful
    Imprisonment, Malicious Prosecution, and Deprivation of Procedural and
                            Substantive Due Process

      58.    Plaintiff adopts and reasserts the information contained in Paragraphs

1 – 57 and all other paragraphs of the Complaint as though fully set forth herein.


      59.     Defendants       arrested,   commenced,   and   continued   a   criminal

prosecution against Plaintiff for criminal possession of a weapon.


      60.    Defendants did not have a warrant for Plaintiff’s Arrest.


      61.    Defendants deprived Plaintiff of his liberty against his will,

handcuffing him and confining him for approximately four months.


      62.    Defendants deprived Plaintiff of due process of law by arresting and

confining him and prosecuting him without revealing the audiovisual evidence of

his innocence to the courts.


      63.    Defendants violated Plaintiff’s rights under article 1, sections 6 and 12


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of the New York State Constitution and section 8 of the New York Civil Rights Law.


      64.    Plaintiff was innocent of the felony offense of which Defendants

accused him and for which Defendants prosecuted him.


      65.    At all relevant times, Defendants had conclusive evidence in the form

of police body camera video footage proving Plaintiff’s innocence.


      66.    The Arrest and concomitant imprisonment and criminal prosecution

were without probable cause and not otherwise privileged.


      67.    Defendants acted with legal malice in falsely arresting, imprisoning,

and prosecuting Plaintiff despite the conclusive evidence of Plaintiff’s actual

innocence in Defendants’ possession.


      68.    Defendants withheld and/or suppressed the evidence of Plaintiff’s

innocence by not timely presenting it to the courts and/or the grand jury.


      69.    The felony prosecution terminated in Plaintiff’s favor when it was

dismissed with prejudice by the New York State Supreme Court (Moran, J.), upon

the Monroe County District Attorney’s application.


      70.    Plaintiff timely served a verified notice of claim upon Defendant City of

Rochester under New York General Municipal Law section 50-e but it has failed or

refused to adjust the claim.


      71.    At all relevant times, Plaintiff was aware of his Arrest and unlawful


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imprisonment by Defendants on the felony charge and objected thereto.


      72.    While Plaintiff was imprisoned by Defendants he suffered physical

injuries and mental anguish proximately caused by such imprisonment.


      73.    Defendants’ actions violated article 1, section 12 of the New York State

Constitution and section 8 of the New York State Civil Rights Law.


                                     COUNT SIX

     New York State Law Claim for Negligent Infliction of Emotional Distress

      74.    Plaintiff adopts and reasserts the information contained in Paragraphs

1 – 73 and all other paragraphs of the Complaint as though fully set forth herein.


      75.     Defendants had a duty to Plaintiff to investigate his case adequately

and secure his release form custody and the termination of his prosecution where

evidence in Defendants’ possession exonerated Plaintiff.


      76.    Defendants breached their duty directly and proximately caused

Plaintiff’s false arrest, imprisonment, and malicious prosecution, and the injuries

Plaintiff suffered as a result thereof.


      77.    Defendants did not have any excuse or license for their tortious

conduct.


                                  COUNT SEVEN

                 New York State Law Claim for Respondeat Superior

      78.    Plaintiff adopts and reasserts the information contained in Paragraphs

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1 – 77 and all other paragraphs of the Complaint as though fully set forth herein.


      79.      At all relevant times, Defendants’ employees acted as agents of and in

the scope of their employment with Defendants.


      80.      The conduct of Defendant’s employees, by which Plaintiff suffered the

injuries and damages described herein, all occurred while Defendants’ employees

were on duty, carrying out their routine investigative functions, and engaging in

such conduct as would have been reasonably expected by their respective employers.


      81.      Defendants are liable for its agents’ state law torts of false arrest,

malicious prosecution, false imprisonment, and negligent infliction of emotional

distress under the legal doctrine of respondeat superior.


                                JURY TRIAL DEMAND


      82.      Plaintiff demands a trial by jury.    See U.S. CONST. amend. VII;

F.R.C.P. 38.


                                PRAYER FOR RELIEF


      Wherefore, Plaintiff respectfully requests JUDGMENT against Defendants,

jointly and severally, as follows:


      A.       Awarding monetary damages on each of the above COUNTS and

   causes of action in an amount to be determined at trial;




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     B.      Awarding pre- and post-judgment interest;


     C.      Directing Defendants to pay Plaintiff all reasonable attorney’s fees and

  costs under 42 U.S.C. section 1988; and


     D.      Awarding all other and further relief that this Court deems just and

  proper.


Dated:       May 16, 2018
             Pittsford, New York

                                       Respectfully submitted,

                                       /s/Michael A. Burger
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